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                               UNITED STATES DISTRICT COURT
                             FOR THE WESTERN DISTRICT OF TEXAS
                                      WACO DIVISION


 Midas Green Technologies, LLC,

          Plaintiff,                                 Civil Action No. 6:22-cv-00050-ADA

                   - vs. -                           Jury Trial Demanded

 Rhodium Enterprises, Inc.;
 Rhodium Technologies LLC;
 Rhodium 10mw LLC;
 Rhodium 2.0 LLC;
 Rhodium 30mw LLC;
 Rhodium Encore LLC;
 Rhodium Industries LLC;
 Rhodium JV LLC;
 Rhodium Renewables LLC;
 Rhodium Shared Services LLC;
 Rhodium Shared Services PR Inc.;
 Chase Blackmon;
 Cameron Blackmon; and
 Nathan Nichols,

          Defendants.


          JOINT MOTION FOR ENTRY OF AGREED SCHEDULING ORDER

         Pursuant to the Court’s Standing Order Governing Proceedings (OGP) 4.1—Patent Cases

(Dkt. 43), Plaintiff Midas Green Technologies, LLC and Defendants Rhodium Enterprises, Inc.;

Rhodium Technologies LLC; Rhodium 10mw LLC; Rhodium 2.0 LLC; Rhodium 30mw LLC;

Rhodium Encore LLC; Rhodium Industries LLC; Rhodium JV LLC; Rhodium Renewables LLC;

Rhodium Shared Services LLC; Rhodium Shared Services PR Inc.; Chase Blackmon; Cameron

Blackmon; and Nathan Nichols (i.e., all Defendants) hereby provide their agreed proposed case

schedule and respectfully request that the Court enter it:




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       Deadline               Item
     April 11, 2022           Plaintiff serves preliminary 1 infringement contentions in the form of a
                              chart setting forth where in the accused product(s) each element of the
                              asserted claim(s) are found. Plaintiff shall also identify the earliest
                              priority date (i.e. the earliest date of invention) for each asserted claim
                              and produce: (1) all documents evidencing conception and reduction to
                              practice for each claimed invention, and (2) a copy of the file history for
                              each patent in suit. 2
     April 18, 2022           CMC deemed to have occurred.

       May 2, 2022            The Parties shall file a motion to enter an agreed Scheduling Order. If
                              the parties cannot agree, the parties shall submit a separate Joint Motion
                              for entry of Scheduling Order briefly setting forth their respective
                              positions on items where they cannot agree. Absent agreement of the
                              parties, the Plaintiff shall be responsible for the timely submission of
                              this and other Joint filings.
       May 9, 2022            Deadline to file a motion for inter-district (or intra-district) 3 transfer.
                              After this deadline, movants must seek leave of Court and show good
                              cause for the delay.

      June 17, 2022           Defendant serves preliminary invalidity contentions in the form of (1) a
                              chart setting forth where in the prior art references each element of the
                              asserted claim(s) are found, (2) an identification of any limitations the
                              Defendant contends are indefinite or lack written description under
                              section 112, and (3) an identification of any claims the Defendant
                              contends are directed to ineligible subject matter under section 101.
                              Defendant shall also produce (1) all prior art referenced in the invalidity
                              contentions, and (2) technical documents, including software where
                              applicable, sufficient to show the operation of the accused product(s).

      June 24, 2022           Parties exchange claim terms for construction.

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  The parties may amend preliminary infringement contentions and preliminary invalidity contentions without leave
of court so long as counsel certifies that it undertook reasonable efforts to prepare its preliminary contentions and
the amendment is based on material identified after those preliminary contentions were served and should do so
seasonably upon identifying any such material. Any amendment to add patent claims requires leave of court so that
the Court can address any scheduling issues.
2
 With respect to the identification of the earliest priority date (i.e., the earliest date of invention) Plaintiff shall
follow the Court’s statements in Sratosaudio Inc. v. Hyundai Motor Am., Case No. 6:20-CV-1125-ADA, Dkt. 38 at
33-34 (W.D. Tex. June 26, 2021) (“So right now you have the dates that are the preliminary dates. If the plaintiff
wants to move back or front, however you want to say it, if they want to make an earlier priority date, they may be
able to do so, but they’ll have to get my permission, and if we do that, then it's going to -- we’re going to modify
other rights that you [the defendant] have.”), such that if Plaintiff wishes to assert a priority date earlier than March
14, 2012, it must seek leave of Court.
3
 The Court’s Exemplary Schedule (OGP 4.1) provides a deadline for the filing of inter-district transfer motions, but
does not appear to address intra-district transfer motions. The Court’s Scheduling Date Calculator Tool – v. 4.1,
however, provides a deadline applicable to all transfer motions.

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        Deadline             Item

       July 7, 2022          Parties exchange proposed claim constructions.
      July 13, 2022          Parties disclose extrinsic evidence. The parties shall disclose any
                             extrinsic evidence, including the identity of any expert witness they may
                             rely upon with respect to claim construction or indefiniteness. With
                             respect to any expert identified, the parties shall identify the scope of the
                             topics for the witness’s expected testimony. 4 With respect to items of
                             extrinsic evidence, the parties shall identify each such item by
                             production number or produce a copy of any such item if not previously
                             produced.
      July 19, 2022          Deadline to meet and confer to narrow terms in dispute and exchange
                             revised list of terms/constructions.
      July 25, 2022          Defendant files Opening claim construction brief, including any
                             arguments that any claim terms are indefinite.
     Aug. 15, 2022           Plaintiff files Responsive claim construction brief.
     Aug. 29, 2022           Defendant files Reply claim construction brief.
     Aug. 29, 2022           Parties to jointly email the law clerks (see OGP at 1) to confirm their
                             Markman date and to notify if any venue or jurisdictional motions
                             remain unripe for resolution.

     Sept. 12, 2022          Plaintiff files a Sur-Reply claim construction brief.
     Sept. 15, 2022          Parties submit Joint Claim Construction Statement and email the law
                             clerks an editable copy.

                             See General Issues Note #7 regarding providing copies of the briefing to
                             the Court and the technical advisor (if appointed).
     Sept. 19, 2022          Parties submit optional technical tutorials to the Court and technical
                             advisor (if appointed).
     Sept. 26, 2022          Markman Hearing at 9:00 a.m. This date is a placeholder and the
      (Tentative)            Court may adjust this date as the Markman hearing approaches.
     Sept. 27, 2022          Fact Discovery opens; deadline to serve Initial Disclosures per Rule
                             26(a).
     Nov. 7, 2022            Deadline to add parties.
     Nov. 21, 2022           Deadline to serve Final Infringement and Invalidity Contentions. After
                             this date, leave of Court is required for any amendment to infringement
                             or invalidity contentions. This deadline does not relieve the parties of
                             their obligation to seasonably amend if new information is identified
                             after initial contentions.
      Jan. 17, 2023          Deadline to amend pleadings. A motion is not required unless the
                             amendment adds patents or patent claims. (Note: This includes
                             amendments in response to a 12(c) motion.)
    March 27, 2023           Deadline for the first of two meet and confers to discuss significantly
                             narrowing the number of claims asserted and prior art references at
                             issue. Unless the parties agree to the narrowing, they are ordered to
4
 Any party may utilize a rebuttal expert in response to a brief where expert testimony is relied upon by the other
party.

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        Deadline         Item
                         contact the Court’s law clerk to arrange a teleconference with the Court
                         to resolve the disputed issues.
     April 24, 2023      Close of Fact Discovery.
      May 1, 2023        Opening Expert Reports.
     May 30, 2023        Rebuttal Expert Reports.
     June 20, 2023       Close of Expert Discovery.
     June 26, 2023       Deadline for the second of two meet and confers to discuss narrowing
                         the number of claims asserted and prior art references at issue to triable
                         limits. If it helps the parties determine these limits, the parties are
                         encouraged to contact the Court’s law clerk for an estimate of the
                         amount of trial time anticipated per side. The parties shall file a Joint
                         Report within 5 business days regarding the results of the meet and
                         confer.
       July 3, 2023      Dispositive motion deadline and Daubert motion deadline.

                         See General Issues Note #7 regarding providing copies of the briefing to
                         the Court and the technical advisor (if appointed).
      July 17, 2023      Serve Pretrial Disclosures (jury instructions, exhibits lists, witness lists,
                         discovery and deposition designations).

                         Serve responses to dispositive motions and Daubert motions
      July 24, 2023      Serve replies to dispositive motions and Daubert motions

      July 31, 2023      Serve objections to pretrial disclosures/rebuttal disclosures.
     August 1, 2023      Parties to jointly email the Court’s law clerk (See OGP at 1) to confirm
                         their pretrial conference and trial dates.

     Aug. 7, 2023        Serve objections to rebuttal disclosures; file Motions in limine.
     Aug. 14, 2023       File Joint Pretrial Order and Pretrial Submissions (jury instructions,
                         exhibits lists, witness lists, discovery and deposition designations); file
                         oppositions to motions in limine.
     Aug. 21, 2023       File Notice of Request for Daily Transcript or Real Time Reporting. If a
                         daily transcript or real time reporting of court proceedings is requested
                         for trial, the party or parties making said request shall file a notice with
                         the Court and email the Court Reporter, Kristie Davis at
                         kmdaviscsr@yahoo.com

                         Deadline to meet and confer regarding remaining objections and
                         disputes on motions in limine.
     Aug. 25, 2023       Last court day for party asserting invalidity or non-infringement to
                         give notice to adverse party of information set forth in 35 USC 282.

      Sept. 1, 2023      File joint notice identifying remaining objections to pretrial disclosures
                         and disputes on motions in limine.
      Sept. 5, 2023      Final Pretrial Conference. Held in person unless otherwise requested.

     Sept. 25, 2023      Jury Selection/Trial.

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        Deadline         Item
       (Tentative)


SIGNED this 3rd day of May, 2022.




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